
79 So.3d 855 (2012)
Michael Anthony ARGUELLES, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-2432.
District Court of Appeal of Florida, First District.
January 31, 2012.
Nancy A. Daniels, Public Defender, and Glenna Joyce Reeves, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Donna A. Gerace, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So.3d 138 (Fla. 1st DCA 2011).
DAVIS, CLARK, and ROWE, JJ., concur.
